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             USCA11 Case: 22-12708 Date Filed: 11/07/2022 Page: 1 of 2


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

  David J. Smith                                                                       For rules and forms visit
  Clerk of Court                                                                       www.ca11.uscourts.gov


                                          November 07, 2022                                   AP
   Clerk - Southern District of Florida
   U.S. District Court                                                           Nov 7, 2022
   400 N MIAMI AVE
   MIAMI, FL 33128-1810
                                                                                                  MIAMI
   Appeal Number: 22-12708-DD
   Case Style: USA v. Paul Dorsey
   District Court Docket No: 9:22-mj-08332-BER-1

   The enclosed copy of the Clerk's Order of Dismissal for failure to prosecute in the above-
   referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
   Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
   the appeal shall be treated as dismissed on the first business day following the due date. This
   appeal was treated as dismissed on 10/27/2022.

   Eleventh Circuit Rules 42-2(e) and 42-3(e) govern motions to set aside dismissal and remedy
   the default. Such motions must be filed within 14 days of the date the clerk issues the Order of
   Dismissal. Except as otherwise provided by FRAP 25(a) for inmate filings, a motion to set aside
   dismissal and remedy the default is not timely unless the clerk receives the motion within the
   time fixed for filing. See FRAP 25(a)(2)(A)(i).

   Any pending motions are now rendered moot in light of the attached order.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Brad Holland, DD
   Phone #: 404-335-6181

   Enclosure(s)



                                                              DIS-2CIV Letter and Entry of Dismissal
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                         IN THE UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                           ______________

                                          No. 22-12708-DD
                                          ______________

   UNITED STATES OF AMERICA,

                                                      Plaintiff - Appellee,

   versus

   PAUL DORSEY,

                                                      Interested Party - Appellant,

   SEALED SEARCH WARRANT,

                                               Defendant.
                         __________________________________________

                            Appeal from the United States District Court
                                for the Southern District of Florida
                         __________________________________________

   ORDER: Pursuant to the 11th Cir. R. 42-2(c), this appeal is hereby DISMISSED for want of
   prosecution because the appellant Paul Dorsey has failed to file an appellant's brief within the
   time fixed by the rules, effective November 07, 2022.

                                          DAVID J. SMITH
                               Clerk of Court of the United States Court
                                  of Appeals for the Eleventh Circuit

                                                             FOR THE COURT - BY DIRECTION
